UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
v.

MICHAEL T. FLYNN,

Defendant

Crim. No. 17-232 (EGS)

 

 

NOTICE OF WITHDRAWAL

Pursuant to Local Rule of Criminal Procedure 44.5(e), please notice the withdrawal of

Brandon L. Van Grack as counsel for the government in the above-captioned matter.

May 7, 2020

Respectfully submitted,

EN

Brandon L. Van Grack
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